 1   SHAWNN. ANDERSON
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     Chiel Civil Division
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 6   FAX: (671) 472-7215

 7   Attomeys for the United States of America

 8
                            IN THE UNI‐ D STATES DISTRICT COURT
 9
                                    FOR THETERRITORY OF GUAM
10

11   TIMOTHY J QUNTANILLA,                            CIVIL CASE N0 16‐ 00076
     ANJELO G Q.KUSTERBECK,
12   LLEMALT P.TANGLEBAD,
13                        Plaintiffs,


14                 VS                                 STIPULAT10N FOR
                                                      VOLUNTARY DISMISSAL
15   DEPARTMENT OF THE NAVY,
     UNITED STA‐ S OF AMERICA;
16   JOHN DOEINSURANCE CARRIER TO
     BE NAMED AFTER DISCOVERY;
17   and DOES l‐ 10,Inclus市 e,

18                         Defendants.

19          CONIE NOW,the parties,by and■Юugh             their Ш dersigned coullsel,and hereby move

20   the Cot耐 to dismiss ttis case pmuantto Rule 41(→ (lXA)(li)。 fthe Federal Rules ofC市           11



21   Procedure The tems set fon in the settlement agreement cCF No.H‐               1)have been satisied

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                                    Stipulation for Voluntary Dismissal -   I of2

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 1   as ofMay 31,2017.Each ptt shall bearits Own costs and fees,including attomeys'fees.

 2         SO STIPULATED.

 3                                                  SHAWN N.ANDERSON
                                                    Acting United States Attomey
 4                                                  Districts ofGuatn and the NMI

 5
            Dated:   6lat   lr-+           By:
 6                                                             F WESSLNG
                                                              W SCHWAB
 7

 8
                                                    LAW OFFICES OF MARK WILLIAMS,P.C.
 9

10         Daed:ζ ルlll千
                                                              WILLIAMS,ESQ.
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                                   Stipulation for Voluntary Dismissal - 2   of2

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